Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 1 of 14




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

                                                      :
 SCOTTSDALE INSURANCE COMPANY,                        :
                                                      : Case No.: 1:21-cv-02698-KMT
                       Plaintiff,                     :
                                                      :
                 v.                                   :
                                                      :
 BENJAMIN D. WILHELM; RIVER ROOTS                     :
 LLC; JONATHAN OCHMAN; AND                            :
 ALEJANDRA OCHMAN                                     :

                      Defendants.


  DEFENDANT-COUNTERCLAIMANTS JONATHAN OCHMAN AND ALEJANDRA
 OCHMAN’S ANSWER TO PLAINTIFF’S COMPLAINT, AFFIRMATIVE DEFENSES,
         AND COUNTERCLAIM FOR DECLARATORY JUDGMENT
       AND NOW, comes Defendants, Jonathan Ochman and Alejandra Ochman, by and through

the undersigned attorneys and J.P. Ward & Associates, LLC, who timely file the within Answer to

the Complaint, Affirmative Defenses, and Counterclaim, of which the following is a statement:

                                    ANSWER TO THE COMPLAINT

       1.      DENIED. The allegations of Paragraph No. 1 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       2.      DENIED. The allegations of Paragraph No. 2 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 2 of 14




        3.      DENIED. The allegations of Paragraph No. 3 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

        4.      ADMITTED. The allegations of Paragraph No. 4 are admitted.

        5.      DENIED. The allegations of Paragraph No. 5 constitute conclusions of law to

which no responsive pleading is required. Accordingly, the same are denied and strict proof thereof

is demanded at the time of trial.

        6.      ADMITTED IN PART. It is admitted that one or more of the Defendants reside in

the district and that a substantial part of the events giving rise to this action occurred in this judicial

district. The allegation that the insurance policy was issued or delivered in this judicial district is

denied pursuant to Fed. R. Civ. P. 8(b)(5). After reasonable investigation, Defendants are without

knowledge or information sufficient to form a belief as to the truth that allegation. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

        7.      ADMITTED. The Allegations of Paragraph No. 7 are admitted.

        8.      ADMITTED. The Allegations of Paragraph No. 8 are admitted.

        9.      ADMITTED. The Allegations of Paragraph No. 9 are admitted.

        10.     ADMITTED. The Allegations of Paragraph No. 10 are admitted.

        11.     ADMITTED. The Allegations of Paragraph No. 11 are admitted.

        12.     ADMITTED. The Allegations of Paragraph No. 12 are admitted.

        13.     DENIED AS STATED. It is admitted that Mr. Ochman stated in the Complaint that

the assault occurred at 52711 Highway East 50, Boone, Pueblo County, Colorado 81025. This

address was pleaded at the time based on Plaintiff’s understanding and belief. However, as more
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 3 of 14




thoroughly explained in the Counterclaim for Declaratory Judgment below, the assault occurred

on a parcel of land that includes 52711-52719 Highway East 50, Boone, Pueblo County, Colorado

81025. The street number for these addresses are essentially interchangeable and any allegation or

inference from any such allegation that the assault did not also occur at 52719 Highway East 50,

Boone, Pueblo County, Colorado 81025 is denied. The farm is operated on the parcel, which has

multiple buildings, all of which are part of the same business operation. The issue concerning the

addresses associated with the singular parcel number and lots ultimately do not give rise to a

defense or right to deny coverage. Accordingly, the same are denied and strict proof thereof is

demanded at the time of trial.

       14.     DENIED AS STATED. The complaint speaks for itself.

       15.     DENIED AS STATED. The complaint speaks for itself.

       16.     DENIED AS STATED. The complaint speaks for itself.

       17.     DENIED AS STATED. The complaint speaks for itself.

       18.     DENIED AS STATED. The complaint speaks for itself.

       19.     DENIED AS STATED. The complaint speaks for itself.

       20.     DENIED AS STATED. The complaint speaks for itself.

       21.     DENIED AS STATED. The complaint speaks for itself.

       22.     DENIED AS STATED. The complaint speaks for itself.

       23.     DENIED AS STATED. The complaint speaks for itself.

       24.     DENIED AS STATED. The complaint speaks for itself.

       25.     DENIED AS STATED. The complaint speaks for itself.

       26.     DENIED AS STATED. The complaint speaks for itself.

       27.     DENIED AS STATED. The complaint speaks for itself.
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 4 of 14




       28.     DENIED AS STATED. The complaint speaks for itself.

       29.     DENIED AS STATED. The complaint speaks for itself.

       30.     DENIED AS STATED. The complaint speaks for itself.

       31.     DENIED. The allegations of Paragraph No. 31 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       32.     DENIED. The allegations of Paragraph No. 32 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       33.     DENIED. The allegations of Paragraph No. 33 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       34.     DENIED. The allegations of Paragraph No. 34 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       35.     DENIED. The allegations of Paragraph No. 35 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 5 of 14




         36.   DENIED. The allegations of Paragraph No. 36 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

         37.   DENIED. The allegations of Paragraph No. 37 are denied pursuant to Fed. R.

Civ. P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in this

paragraph. Accordingly, the same are denied and strict proof thereof is demanded at the time of

trial.

         38.   DENIED. The allegations of Paragraph No. 38 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

         39.   DENIED. The allegations of Paragraph No. 39 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

         40.   DENIED. The allegations of Paragraph No. 40 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

         41.   DENIED. The allegations of Paragraph No. 41 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 6 of 14




sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       42.     DENIED. The allegations of Paragraph No. 42 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       43.     DENIED. The allegations of Paragraph No. 43 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       44.     DENIED. The allegations of Paragraph No. 44 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       45.     DENIED. The allegations of Paragraph No. 45 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       46.     DENIED. The allegations of Paragraph No. 46 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 7 of 14




       47.     DENIED. The allegations of Paragraph No. 47 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       48.     DENIED. The allegations of Paragraph No. 48 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       49.     DENIED. The allegations of Paragraph No. 49 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       50.     DENIED. The allegations of Paragraph No. 50 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       51.     DENIED. The allegations of Paragraph No. 51 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       52.     DENIED. The allegations of Paragraph No. 52 are denied pursuant to Fed. R. Civ.

P. 8(b)(5). After reasonable investigation, Defendants are without knowledge or information
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 8 of 14




sufficient to form a belief as to the truth of the allegations contained in this paragraph. Accordingly,

the same are denied and strict proof thereof is demanded at the time of trial.

       53.     Paragraph 53 of the Complaint is an incorporation clause to which no response is

required.

       54.     DENIED. The allegations set forth in paragraph 54 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       55.     DENIED. The allegations set forth in paragraph 55 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       56.     DENIED. The allegations set forth in paragraph 56 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       57.     DENIED. The allegations set forth in paragraph 57 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       58.     DENIED. The allegations set forth in paragraph 58 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 9 of 14




response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       59.     DENIED. The allegations set forth in paragraph 59 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       60.     Paragraph 60 of the Complaint is an incorporation clause to which no response is

required.

       61.     DENIED. The allegations set forth in paragraph 61 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       62.     DENIED. The allegations set forth in paragraph 62 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       63.     DENIED. The allegations set forth in paragraph 63 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

response from Answering Defendants is required. Accordingly, the same are denied and strict

proof thereof is demanded at the time of trial.

       64.     DENIED. The allegations set forth in paragraph 64 are directed to Defendants

Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 10 of 14




 response from Answering Defendants is required. Accordingly, the same are denied and strict

 proof thereof is demanded at the time of trial.

        65.     DENIED. The allegations set forth in paragraph 65 are directed to Defendants

 Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

 response from Answering Defendants is required. Accordingly, the same are denied and strict

 proof thereof is demanded at the time of trial.

        66.     DENIED. The allegations set forth in paragraph 66 are directed to Defendants

 Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

 response from Answering Defendants is required. Accordingly, the same are denied and strict

 proof thereof is demanded at the time of trial.

        67.     DENIED. The allegations set forth in paragraph 67 are directed to Defendants

 Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

 response from Answering Defendants is required. Accordingly, the same are denied and strict

 proof thereof is demanded at the time of trial.

        68.     DENIED. The allegations set forth in paragraph 68 are directed to Defendants

 Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

 response from Answering Defendants is required. Accordingly, the same are denied and strict

 proof thereof is demanded at the time of trial.

        69.     DENIED. The allegations set forth in paragraph 69 are directed to Defendants

 Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

 response from Answering Defendants is required. Accordingly, the same are denied and strict

 proof thereof is demanded at the time of trial.
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 11 of 14




           70.   DENIED. The allegations set forth in paragraph 70 are directed to Defendants

 Wilhelm and River Roots and are not directed at Answering Defendants and, therefore, no

 response from Answering Defendants is required. Accordingly, the same are denied and strict

 proof thereof is demanded at the time of trial.

                                   AFFIRMATIVE DEFENSES

           71.   Defendants, Jonathan Ochman and Alejandra Ochman, incorporate the foregoing

 paragraphs as though set forth at length.

           72.   The complaint fails to state a claim for relief for which relief can be granted because

 the assault did take place on the insured premises.

           73.   The assault occurred on a parcel of land that includes 52711-52719 Highway East

 50, Boone, Pueblo County, Colorado 81025. The street number for these addresses are essentially

 interchangeable. This address was pleaded at the time based on Plaintiff’s understanding and

 belief.

           74.   The Plaintiff is estopped from denying coverage as the Plaintiff has agreed to

 defend Defendants’ lawsuit.

           75.   The Plaintiff has waived any claim for denying coverage as Plaintiff has agreed to

 defend Defendants’ lawsuit.

           76.   Defendants raise the applicable statute of limitations.

                                     COUNTERCLAIM
                                          COUNT I
            (Declaratory Judgment – Against Plaintiff Scottsdale Insurance Company)

           77.   Defendants, Jonathan Ochman and Alejandra Ochman, incorporate the foregoing

 paragraphs as though set forth at length.
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 12 of 14




        78.     This is a claim for declaratory judgment pursuant to 28 U.S.C. § 2201, for the

 purpose of determining a question in actual controversy between the parties.

        79.     Plaintiff claims denial of coverage based on the false assumption that the loss did

 not occur on the covered premises.

        80.     Plaintiff supports this claim because Mr. Ochman stated in the Amended Complaint

 that the incident occurred at 52711 Highway East 50, Boone, Pueblo County, Colorado 81025, and

 not 52719 Highway East 50, Boone, Pueblo County, Colorado 81025, as is listed in their insurance

 agreement with Defendants Benjamin Wilhelm and River Roots, LLC.

        81.     However, the incident actually occurred on a parcel of land No. 12-110-09-002 that

 encompasses all addresses 52711 through 52719 per the county property records. (See Exhibit

 “A,” the “Site Map”).

        82.     Previously filed permitting applications show that these addresses both refer to the

 same parcel and contain the same “Legal Description of Property.” (See Exhibit “B,” the “Building

 Permits”).

        83.     Significantly, the Legal Description of Property (Exhibit B) and the Site Map

 (Exhibit A) are both referring to the same lot of land, although the addresses are different.

        84.     Furthermore, the Pueblo County Department of Planning and Development also

 refer to this parcel of land for River Roots’ Marijuana licensing. (See Exhibit “C,” the “Marijuana

 License”).

        85.     The marijuana grow operation is not located at Jason Higley’s address. Therefore,

 that could not have been the intention of the parties to the insurance contract, because the insurance

 coverage would be wholly ineffective.         Plaintiff insurance company is attempting to take
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 13 of 14




 advantage of an immaterial distinction in order to deny coverage. There are two addresses that

 refer to the same parcel and business operation.

        86.      Defendant, Jonathan Ochman, could amend his complaint in Case No. 21-cv-

 00085-SKC, to allege the incident occurred at Parcel No. 12-110-09-002 or 52711-52719 Highway

 East 50, Boone, Pueblo County, Colorado 81025. The allegations would still be wholly truthful

 and accurate and Plaintiff could not deny coverage.

        87.     Furthermore, Mr. Ochman was a business invitee on the premises owned by

 Defendant River Roots and Benjamin Wilhelm for purposes of operating a marijuana farm insured

 by Plaintiff. The operation of the marijuana farm pursuant to licenses and permits occurred on a

 parcel, and lot , which was referred to as 52711-52719 Highway East 50, Boone, Pueblo County,

 Colorado 81025.

        88.     Plaintiff’s argument amounts semantics. Plaintiff is attempting to take advantage

 of a trial issue with the numeric address, which was created by the property owners. In reality

 each address refers to the same property, upon which the assault took place.

        89.     A judicial determination and declaration of the rights and obligations of the parties

 are necessary and appropriate at this time.

                                     PRAYER FOR RELIEF

        Wherefore, Defendants Jonathan Ochman and Alejandra Ochman respectfully request that

 the court enter a declaratory judgment in their favor and against Plaintiff, Scottsdale Insurance

 Company, declaring that Plaintiff Scottsdale Insurance Company owes a duty under the Policy to

 defend, indemnify, or otherwise provide coverage with respect to the following civil action:

 Jonathan Ochman et al. v. Benjamin D. Wilhelm and River Roots, LLC, Case No. 21-cv-00085-

 CMA-SKC (U.S.D.C., D. Colo.).
Case 1:21-cv-02698-KMT Document 20 Filed 12/02/21 USDC Colorado Page 14 of 14




                                         Respectfully submitted,

                                         J.P. WARD & ASSOCIATES, LLC.



 Date: December 2, 2021                 By: ____________________________
                                            Joshua P. Ward (Pa. I.D. No. 320347)

                                            J.P. Ward & Associates, LLC.
                                            The Rubicon Building
                                            201 South Highland Avenue
                                            Suite 201
                                            Pittsburgh, PA 15206

                                            Counsel for Defendants
